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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

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                                   7       LD, et al.,                                       Case No. 20-cv-02254-YGR
                                                         Plaintiffs,
                                   8
                                                                                             SCHEDULING AND PRETRIAL ORDER
                                                    v.
                                   9

                                  10       UNITED BEHAVIORAL HEALTH, et al.,
                                                         Defendants.
                                  11

                                  12            TO ALL PARTIES AND COUNSEL OF RECORD:
Northern District of California
 United States District Court




                                  13            The Court has reviewed and considered the parties’ Joint Statement re Scheduling. The

                                  14   Court hereby sets the following trial and pretrial dates:

                                  15                                         PRETRIAL SCHEDULE

                                  16       CASE MANAGEMENT CONFERENCE:                         Monday, October 23, 2023 at 2:00 p.m.

                                  17       MEDIATION DEADLINE                                  December 8, 2023
                                  18       NON-EXPERT DISCOVERY CUTOFF:                        Deemed closed absent further Court order
                                  19       DISCLOSURE OF EXPERT REPORTS:                       Plaintiffs’ Opening Reports: July 31, 2023
                                  20       ALL EXPERTS, RETAINED AND NON-RETAINED,             Defendant’s Responsive Reports:
                                           MUST PROVIDE WRITTEN REPORTS COMPLIANT              September 15, 2023
                                  21       WITH FRCP 26(A)(2)(B):                              Plaintiffs’ Rebuttal Reports, if any:
                                  22                                                           October 6, 2023

                                  23       EXPERT DISCOVERY CUTOFF:                            November 10, 2023
                                  24       DISPOSITIVE MOTIONS1 /DAUBERT MOTIONS TO
                                                                                               December 22, 2023
                                           BE FILED BY:
                                  25

                                  26       COMPLIANCE HEARING (SEE PAGE 2)                     Friday, March 29, 2024 at 9:01 a.m.

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                                  28     See Standing Order regarding Pre-filing Conference Requirements for motions for summary
                                       judgment.
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                                   1    JOINT PRETRIAL CONFERENCE STATEMENT:                   Thursday, April 4, 2024

                                   2    PRETRIAL CONFERENCE:                                   Friday, April 19, 2024 at 9:00 a.m.
                                   3    TRIAL DATE AND LENGTH:                                 Monday, May 6, 2024
                                   4                                                           (Bench Trial)

                                   5          Pursuant to the Court’s Pretrial Instructions in Civil Cases at Section 2, trial counsel shall

                                   6   meet and confer at least twenty-one (21) days in advance of the Pretrial Conference. The

                                   7   scheduled “compliance hearing” is intended to confirm that counsel have reviewed the Court’s

                                   8   Pretrial Setting Instructions and are in compliance therewith. The compliance hearing shall be

                                   9   held in the Federal Courthouse, 1301 Clay Street, Oakland, California, in Courtroom 1. Five (5)

                                  10   business days prior to the date of the compliance hearing, the parties shall file a one-page JOINT

                                  11   STATEMENT confirming they have complied with this requirement or explaining their failure to

                                  12   comply. If compliance is complete, the parties need not appear and the compliance hearing will be
Northern District of California
 United States District Court




                                  13   taken off calendar. Telephonic appearances will be allowed if the parties have submitted a joint

                                  14   statement in a timely fashion. Failure to do so may result in sanctions.

                                  15          The parties must comply with both the Court’s Standing Order in Civil Cases and Standing

                                  16   Order for Pretrial Instructions in Civil Cases for additional deadlines and procedures. All

                                  17   Standing Orders are available on the Court’s website at http://www.cand.uscourts.gov/ygrorders.

                                  18          IT IS SO ORDERED.

                                  19   Dated: 6/23/2023

                                  20                                                    ______________________________________
                                                                                                YVONNE GONZALEZ ROGERS
                                  21                                                           UNITED STATES DISTRICT JUDGE
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